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    EXHIBIT
      “B”
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                                                                                         Requested By: System Administrator
 Slatkin & Reynolds, P.A.
Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     Date       T'kpr   Description                                                                Hours           Amount



     02/12/2016 JES     Review file and Telephone call with C. Acevedo,                              0.50          $162.50
                        re: discuss new matter, history and current
                        causes of action; Various emails with C.
                        Acevedo, re: asserting both 523 and 727 claims
     02/12/2016 JES     Begin preparation of adversary complaint                                     2.00          $650.00

     02/13/2016 JES     Begin review of Debtor's Rule 2004 examination                               1.80          $585.00
                        transcript
     02/15/2016 JES     Complete review of 2004 transcript and                                       3.20        $1,040.00
                        complete draft of complaint
     02/16/2016 JES     Finalize complaint and E-mail to C. Acevedo for                              0.40          $130.00
                        review
     02/17/2016 JES     Receipt & review of summons issued by Clerk;                                 0.20           $65.00
                        order setting deadlines; Telephone call with A.
                        Root
     02/18/2016 JES     Telephone call with R. Bigge, re: discuss                                    0.30           $97.50
                        extension of both Section 523 and Section 727
                        deadlines; E-mail to C. Acevedo re: same along
                        with copies of motion and order; Various follow
                        up emails with C. Acevedo re: amending
                        complaint
     02/19/2016 JES     Preparation of motion to dismiss 727 claims and                              0.80          $260.00
                        proposed amended complaint
     02/19/2016 JES     E-mail from and reply to A. Root, re: draft                                  0.10           $32.50
                        amended complaint and issue regarding laptop
     02/22/2016 JES     E-mail to Carlos Acevedo, re: amended                                        0.10           $32.50
                        complaint and motion to amend
     03/01/2016 JES     Receipt & review of return receipt for service of                            0.10           $32.50
                        adversary complaint
     03/07/2016 JES     E-mail from and reply to A. Root, re: appearance                             0.10           $32.50
                        in adversary, hearing on 3/8, Receipt & review
                        of notice of appearance
     03/08/2016 JES     Attend hearing on motion to amend to dismiss                                 2.20          $715.00
                        727 claims; Dictate proposed order
     03/08/2016 JES     E-mail to A. Root, re: proposed order granting                               0.10           $32.50
                        motion to amend complaint
     03/09/2016 JES     E-mail from and reply to A. Root, re: approval of                            0.10           $32.50
                        order
     03/11/2016 JES     Receipt & review of order granting trustee's                                 0.10           $32.50
                        motion to compel, etc.
     03/14/2016 JES     Receipt & review of order granting motion for                                0.10           $32.50
                        leave to amend; E-mail to C. Acevedo, re: same,
                        deadline for response
     03/16/2016 IPM     Preparation of Certificate of Service re Order                               0.20           $25.00
                        Granting Motion to Amend Complaint
     03/17/2016 JES     Receipt & review of return receipt for service of                            0.10           $32.50
                        amended complaint on Debtor
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     03/28/2016 JES     E-mail from and reply to A. Root, re: request for                            0.10           $32.50
                        one week extension to respond to complaint
     03/28/2016 JES     Telephone call with C. Acevedo, re: status of                                0.10           $32.50
                        state court and Columbian court proceedings,
                        need for Columbian court decision against
                        Debtor, also discuss request for extension;
                        E-mail to A. Root, re: no objection to extension
     03/28/2016 JES     Receipt & review of motion to extend time to                                 0.10           $32.50
                        file response to complaint
     03/29/2016 JES     E-mail from and reply to C. Acevedo, re: order                               0.20           $65.00
                        extending deadline to respond to complaint,
                        effect of same, E-mail from and reply to C.
                        Acevedo, re: Columbian proceedings and affect
                        on adversary proceeding
     04/01/2016 JES     Telephone call with C. Acevedo, re: Trustee's                                0.20           $65.00
                        motion to compromise controversy with Debtor,
                        grounds for objecting, relationship to Section
                        523 claims
     04/01/2016 JES     E-mail from and reply to C. Acevedo, re: Clients                             0.10           $32.50
                        authorize and instruct JES to file objection to
                        Trustee's proposed settlement with Debtor
     04/04/2016 JES     Legal research on settlements that include a                                 1.20          $390.00
                        waiver of claims to deny discharge
     04/05/2016 JES     Receipt & review of motion to dismiss amended                                0.20           $65.00
                        complaint; E-mail to C. Acevedo with comments
     04/05/2016 JES     Complete draft objection to Rule 9019 motion;                                2.80          $910.00
                        E-mail from and reply to C. Acevedo, re: judicial
                        default in adversary
     04/05/2016 JES     Telephone call with C. Acevedo, re: proof of                                 1.40          $455.00
                        claims not filed, passing of deadline, discuss
                        motion to dismiss and objection to 9019 motion;
                        E-mail to C. Acevedo, re: form proof of claims
                        and instructions on completion of same;
                        Preparation of motion to deem late filed claims
                        timely filed
     04/06/2016 JES     Receipt & review of notice of hearing on motion                              0.10           $32.50
                        to dismiss; E-mail to C. Acevedo, re: same
     04/06/2016 JES     E-mail to C. Acevedo, re: draft objection to 9019                            0.10           $32.50
                        motion
     04/06/2016 JES     E-mail from and reply to C. Acevedo, re:                                     0.20           $65.00
                        markup of objection, questions regarding look
                        back period
     04/07/2016 JES     E-mail from and reply to C. Acevedo, re:                                     0.30           $97.50
                        additional edits to objection to 9019 motion;
                        Preparation of further changes and E-mail to C.
                        Acevedo for review
     04/08/2016 JES     Receipt & review of motion to abandon, review                                0.20           $65.00
                        schedules; E-mail to C. Acevedo, re: same with
                        comments
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     04/08/2016 JES     Telephone call with N. Helmstetter, re: 9019                                  0.50          $162.50
                        motion, notice of abandonment, late filed claims;
                        review filed proofs of claim
     04/08/2016 JES     Telephone call with C. Acevedo, re: notice of                                 0.60          $195.00
                        abandonment, etc.; Preparation of revised
                        objection to 9019 in light of recent conversation;
                        Dictate objection to notice of abandonment
     04/12/2016 JES     Receipt & review of signed proofs of claims;                                  0.30           $97.50
                        E-mail to C. Acevedo, re: motion for late filed
                        claims; revised objection to 9019 and objection
                        to notice of abandonment
     04/12/2016 JES     Telephone call from C. Acevedo, re: revised                                   0.20           $65.00
                        objections, motion for late filed claims, etc.
     04/14/2016 JES     E-mail from and reply to C. Acevedo, re: Clients                              0.30           $97.50
                        approve of all filings; finalize motion to deem
                        claims timely filed, objection to 9019 motion and
                        to notice of abandonment
     04/18/2016 JES     E-mail to C. Acevedo, re: initial disclosures                                 0.10           $32.50

     04/18/2016 JES     Receipt & review of notice of hearing re: motion                              0.10           $32.50
                        to deem claims timely filed; E-mail to C.
                        Acevedo, re: same - JES unavailable
     04/19/2016 JES     E-mail from and reply to C. Acevedo and                                       0.40          $130.00
                        Telephone call from C. Acevedo, re: initial
                        disclosures; Preparation of initial disclosures;
                        E-mail to C. Acevedo, re: draft of same
     04/21/2016 JES     E-mail from and reply to C. Acevedo, re: further                              0.10           $32.50
                        changes to initial disclosures
     04/27/2016 JES     Receipt & review of notice of hearing on Rule                                 0.10           $32.50
                        9019; E-mail to C. Acevedo, re: same; status of
                        Clients' position on items subject to
                        abandonment
     04/29/2016 JES     E-mail to N. Helmstetter, re: continuance of 5/11                             0.10           $32.50
                        hearing on motion to allow late filed claims
     05/09/2016 JES     Receipt & review order Granting Trustee's Sixth                               0.10           $32.50
                        Motion to Extend Time to File Objections
     05/09/2016 JES     Receipt & review of order continuing hearing on                               0.10           $32.50
                        motion to allow late filed claims
     05/11/2016 IPM     Preparation of Certificate of Service re Order                                0.20           $25.00
                        Granting Motion to Continue Hearing re Motion
                        to Deem Claim Timely Filed
     05/19/2016 JES     Telephone call with C. Acevedo, re: clients                                   0.20           $65.00
                        willing to purchase assets subject to
                        abandonment for no more than $10,000,
                        including waiver to objection to 9019 settlement,
                        affect on adversary and hearing on 5/19
     05/19/2016 JES     Attend hearing on motion to dismiss amended                                   3.00          $975.00
                        complaint; Telephone call with C. Acevedo, re:
                        results of same
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     05/20/2016 JES     E-mail from and reply to N. Helmstetter, re:                                0.10           $32.50
                        modified pool of assets offered for sale at this
                        time - removal of Repton Trust from pool and
                        basis therefore
     05/23/2016 JES     Telephone call from N. Helmstetter, re: further                             0.20           $65.00
                        discussions on the 9019 motion, sale of assets,
                        Telephone call with C. Acevedo, re: same
     05/24/2016 JES     Receipt & review of proposed orders from A.                                 0.10           $32.50
                        Root; Preparation of changes to same and E-mail
                        to A. Root for review
     05/24/2016 JES     Attend hearing on Trustee's 9019 Motion to                                  2.50          $812.50
                        Approve Settlement with Debtor; Dictate
                        scheduling order, re: evidentiary hearing and
                        related deadlines
     05/25/2016 JES     Preparation of Second Amended Complaint and                                 0.30           $97.50
                        E-mail to C. Acevedo for review
     05/26/2016 JES     Receipt & review of orders continuing pretrial                              0.10           $32.50
                        conference and granting in part and denying part
                        Debtor's motion to dismiss amended complaint
     05/27/2016 JES     Various emails with C. Acevedo, re: fraud count;                            0.30           $97.50
                        further changes to second amended complaint
                        and E-mail to C. Acevedo for review
     05/31/2016 JES     Various emails with N. Helmstetter and C.                                   0.20           $65.00
                        Acevdedo, re: motion to deem claims timely
                        filed; Clients to withdraw same
     06/02/2016 IPM     Preparation of Certificate of Service re Order                              0.20           $25.00
                        Setting Evidentiary Hearing re Settlement
                        Motion
     06/02/2016 IPM     Preparation of Notice of Withdrawal of Motion                               0.20           $25.00
                        for Late Filed Claim
     06/07/2016 JES     Receipt & review of answer to Count I of                                    0.20           $65.00
                        Second Amended Complaint and E-mail to C.
                        Acevedo, re: same with comments
     06/22/2016 JES     Receipt & review of motion to dismiss count II                              0.10           $32.50
                        of second amended complaint; E-mail to C.
                        Acevedo, re: same with comments
     06/24/2016 JES     Telephone call with C. Acevedo, re: motion to                               0.60          $195.00
                        dismiss Count II of Second Amended Complaint,
                        affirmative defenses and discovery to follow;
                        also discuss Trustee's motion to approve
                        settlement with Debtor; E-mail to N.
                        Helmstetter, re: list of undisclosed bank
                        accounts, status of Trustee's continued
                        investigation
     07/05/2016 JES     Various emails with counsel, re:continued                                   0.10           $32.50
                        evidentiary hearing; Receipt & review order
                        continuing same; E-mail to C. Acevedo, re: same
     07/06/2016 JES     Receipt & review of certain bank records, re:                               0.30           $97.50
                        unscheduled bank accounts
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     07/15/2016 IPM     Preparation of Amended Order Granting Motion                                     0.20           $25.00
                        to Continue Hearing on 9019 Motion
     07/15/2016 JES     Telephone call with N. Helmstetter, re: discuss                                  0.20           $65.00
                        asset sale, unlisted bank accounts, and similarly
                        named entity (radio station)
     07/21/2016 JES     E-mail from and reply to A. Root, re:                                            0.10           $32.50
                        continuance of pretrial conference
     07/21/2016 JES     E-mail from and reply to N. Helmstetter, re:                                     0.10           $32.50
                        settlement discussions
     07/25/2016 JES     E-mail from and reply to A. Root, re: pretrial                                   0.10           $32.50
                        conference; deposition of Debtor
     07/27/2016 IPM     Preparation of Certificate of Service re Amended                                 0.20           $25.00
                        Order Granting Motion to Continue Hearing re
                        9019
     08/16/2016 JES     Receipt & review of motion to enforce stay and                                   0.40          $130.00
                        notice of hearing, review cases cited, E-mail to
                        C. Acevedo, re: same; status of clients'
                        counteroffer to Trustee
     08/17/2016 JES     Various emails with C. Acevedo, re: clients no                                   0.10           $32.50
                        longer wish to purchase assets
     08/18/2016 JES     Legal research on 523(a)(6)                                                      0.40          $130.00

     08/18/2016 JES     Review claims register, E-mail to Carlos, re:                                    0.20           $65.00
                        withdrawal of objection of settlement
     08/18/2016 JES     Attend hearing on motion to dismiss count II of                                  2.50          $812.50
                        second amended complaint, E-mail to C.
                        Acevedo, re: results of same
     08/23/2016 JES     E-mail from and reply to N. Helmstetter, re:                                     0.10           $32.50
                        status of settlement discussions, E-mail to C.
                        Acevedo, re: same, objection to settlement
     08/23/2016 JES     Draft proposed order denying motion to dismiss                                   1.00          $325.00
                        count II of Second Amended Complaint
     08/25/2016 JES     E-mail from and reply to C. Acevedo, re:                                         0.20           $65.00
                        withdrawal of objection; E-mail to N.
                        Helmstetter, re: same; Dictate notice of
                        withdrawal
     08/25/2016 JES     Preparation of response in opposition to motion                                  2.00          $650.00
                        to enforce and/or extend the automatic stay,
                        Receipt & review of Debtor's proposed order
                        dismissing count II of second amended
                        complaint; E-mail to A. Root, re: Clients'
                        submission of same to the Court
     08/29/2016 JES     Review file in preparation for hearing on 8/30                                   0.40          $130.00

     08/29/2016 JES     Conference with C. Acevedo, re: trial                                            1.70          $552.50
                        preparation; E-mail to C. Acevedo, re: items
                        needed - answers to interrogatories, responses to
                        request for admissions; E-mail to A. Root, re:
                        examination of Debtor
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     08/30/2016 JES     Attend hearing on motion to dismiss count II of                                1.50          $487.50
                        second amended complaint; E-mail to C.
                        Acevedo, re: results of same
     08/30/2016 JES     Review and revise motion to appear pro hac vice                                0.20           $65.00
                        and E-mail to C. Acevedo for signature
     08/31/2016 JES     Receipt & review of order approving 9019 with                                  0.10           $32.50
                        Debtor, Receipt & review of order granting
                        motion of Trustee, re: 727 deadline; Receipt &
                        review of order dismissing Count II and E-mail
                        to C. Acevedo
     08/31/2016 JES     Telephone call with R. Del Medico, re:                                         0.20           $65.00
                        representation by her of Debtor, discovery
                        sought; Dictate subpoena
     09/06/2016 JES     Review Del Medico subpoena, E-mail to C.                                       0.10           $32.50
                        Acevedo
     09/07/2016 JES     Receipt & review of revised duces teca from C.                                 0.10           $32.50
                        Acevedo; Dictate instructions, re: service of
                        subpoenas
     09/07/2016 JES     Receipt & review of Order Denying Motion to                                    0.10           $32.50
                        Extend Stay; E-mail to C. Acevedo, re: same
     09/08/2016 IPM     Preparation of Certificate of Service re Order                                 0.20           $25.00
                        Granting Pro Hac Vice Motion
     09/08/2016 IPM     Preparation of Certificate of Service re Order                                 0.20           $25.00
                        Denying Motion to Extend/Enforce Stay
     09/08/2016 JES     E-mail from and reply to A. Root, re: debtor's                                 0.10           $32.50
                        doctor visit on 9/9
     09/12/2016 JES     Receipt & review of admissions in state court                                  0.50          $162.50
                        proceeding, Preparation of interrogatories;
                        E-mail to A. Root, re: deposition dates
     09/19/2016 JES     Various emails with A. Root and H. Potts, re:                                  0.30           $97.50
                        deposition on 9/29, pending interrogatory,
                        Dictate notice of taking deposition; Dictate
                        ex-parte motion to shorten time
     09/19/2016 JES     Attend pretrial conference telephonically                                      0.30           $97.50

     09/19/2016 JES     Telephone call with J. Weiss, re: subpoena;                                    0.30           $97.50
                        Preparation of amended Exhibit A to subpoena
                        and E-mail to Carlos for review
     09/19/2016 JES     Receipt & review revised Exhibit A. E-mail to J.                               0.10           $32.50
                        Weiss, re: same
     09/20/2016 JES     E-mail from and reply to A. Root, re: notice of                                0.10           $32.50
                        subpoena; E-mail to A. Root, re: copies of
                        subpoenas
     09/21/2016 JES     Receipt & review of order shortening time and                                  0.10           $32.50
                        E-mail to C. Acevedo, re: same
     09/22/2016 IPM     Preparation of Certificate of Service re Motion to                             0.20           $25.00
                        Shorten
     09/22/2016 IPM     Preparation of Notice of Taking Deposition of                                  0.20           $25.00
                        Debtor
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     09/22/2016 IPM     Preparation of Notice of Taking Deposition of                                  0.20           $25.00
                        Weiss Law
     09/22/2016 IPM     Preparation of Notice of Taking Deposition of                                  0.20           $25.00
                        Del Medico
     09/27/2016 JES     Preparation of draft pretrial order                                            1.50          $487.50

     09/28/2016 JES     Telephone call with C. Acevedo, re: deposition                                 0.20           $65.00
                        preparation, E-mail to and reply from A. Root,
                        re: confirm appearance, etc.
     09/29/2016 JES     Attend deposition of Debtor                                                    7.50        $2,437.50

     10/07/2016 JES     E-mail from and reply to J. Weiss, re: amended                                 0.10           $32.50
                        duces tecum, motion for protective order
     10/11/2016 JES     E-mail from and reply to Del Medico, re:                                       0.20           $65.00
                        extension to respond to subpoena, E-mail to J.
                        Weiss, re: follow-up, Telephone call from J.
                        Weiss, re: motion for protective order
     10/17/2016 JES     Receipt & review of initial disclosures; E-mail                                0.20           $65.00
                        from and reply to A. Root, re: documents;
                        Telephone call with A. Root, re: same, as well as
                        discuss settlement offer; E-mail to C. Acevedo,
                        re: same
     10/18/2016 JES     Receipt & review of motion for protective order                                0.30           $97.50
                        filed by the Weiss Law Group, P.A., E-mail to
                        C. Acevedo with comments, E-mail to J. Weiss,
                        re: motion, clarification of request number 2,
                        identity of "Weiss"
     10/20/2016 JES     Various emails with A. Root, re: document                                      0.30           $97.50
                        delivery, settlement offer, continuance of trial,
                        concluding Debtor's deposition, Receipt &
                        review of notice of hearing, re: motion for
                        protective order; E-mail from and reply to R. Del
                        Medico, re: documents responsive to subpoena
     10/26/2016 JES     E-mail from and reply to A. Root, re: dates for                                0.10           $32.50
                        continuation of Debtor's deposition
     11/01/2016 JES     Review file and legal research on attorney client                              2.60          $845.00
                        privilege; Attend hearing on Weiss Law Group's
                        motion for protective order; E-mail to C.
                        Acevdedo, re: results of same
     11/01/2016 JES     Various emails with A. Root, re: continuation of                               0.10           $32.50
                        deposition of Debtor
     11/02/2016 JES     E-mail from and reply to J. Weiss, re: approval                                0.20           $65.00
                        of order denying motion for protective order;
                        Dictate motion to continue trial
     11/02/2016 JES     E-mail from and reply to A. Root, re: approval of                              0.10           $32.50
                        order setting trial, deposition dates and new trial
                        dates
     11/02/2016 JES     Preparation of draft order setting trial for 12/22,                            0.30           $97.50
                        E-mail to A. Root for review
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     11/04/2016 IPM     Preparation of Certificate of Service re Order                               0.20           $25.00
                        Denying Weiss Law's Motion for Protective
                        Order
     11/04/2016 IPM     Preparation of Certificate of Service re Order                               0.20           $25.00
                        Setting Trial
     11/04/2016 IPM     Preparation of Order Granting Motion to                                      0.20           $25.00
                        Continue Trial
     11/04/2016 JES     Receipt & review of order setting trial, revise                              0.30           $97.50
                        motion to continue trial and E-mail to C.
                        Acevedo for review; E-mail from and reply to C.
                        Acevedo, re: approval of same; E-mail to A.
                        Root, re: motion to continue trial
     11/09/2016 JES     Receipt & review of order continuing trial;                                  0.20           $65.00
                        E-mail to C. Acevedo, re: same; E-mail to A.
                        Root, re: continuation of deposition; Telephone
                        call from C. Acevedo, re: witness testimony re:
                        US bank account for payment of commissions
     11/14/2016 IPM     Preparation of Certificate of Service re Order                               0.20           $25.00
                        Granting Motion to Continue Trial
     11/15/2016 JES     Receipt & review of documents from Weiss Law                                 0.40          $130.00
                        Group; E-mail to C. Acevedo, re: same with
                        comments
     11/15/2016 JES     Telephone call from C. Acevedo, re: Weiss                                    0.10           $32.50
                        production; E-mail to J. Weiss, re: redacted
                        documents
     11/16/2016 JES     Telephone call from J. Weiss, re: redacted                                   0.20           $65.00
                        documents; E-mail from and reply to J. Weiss,
                        re: additional documents, comments thereto
     11/17/2016 JES     Receipt & review of revised redacted                                         0.20           $65.00
                        documents; E-mail to C. Acevedo, re: same;
                        E-mail to A. Root, re: discovery issues
     11/18/2016 JES     Telephone call from C. Acevedo, re: review of                                0.30           $97.50
                        Weiss production, terms of Client's counteroffer;
                        Telephone call with C. Acevedo and A. Root, re:
                        same
     11/29/2016 IPM     Preparation of Notice of Continued Deposition                                0.10           $12.50
                        of Debtor
     11/29/2016 JES     Various emails with A. Root re: continuation of                              0.10           $32.50
                        deposition of Debtor, status of Debtor's response
                        to counteroffer
     12/16/2016 JES     E-mail to A. Root, re: status as to Debtor's                                 0.10           $32.50
                        position on clients' counterproposal
     01/09/2017 JES     E-mail from and reply to A. Root, re: response to                            0.10           $32.50
                        settlement demand
     01/09/2017 JES     Additional emails with A. Root; Telephone call                               0.20           $65.00
                        from C. Acevedo, re: clarification of terms of
                        settlement; E-mail to A. Root, re: evidence
                        regarding payments and cessation of litigation
     01/11/2017 JES     Telephone call with C. Acevedo, re: Debtor's                                 0.10           $32.50
                        deposition; E-mail to A. Root, re: same
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 Slatkin & Reynolds, P.A.
Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     01/12/2017 JES     Telephone call with A. Root, re: additional                                   0.10           $32.50
                        settlement discussions; Deposition on 1/13
     01/13/2017 JES     Attend settlement conference                                                  3.00          $975.00

     01/17/2017 JES     E-mail to C. Acevedo, re: strategy going                                      0.10           $32.50
                        forward, deposition of Debtor, amending
                        complaint, continuance of trial
     01/18/2017 JES     E-mail from and reply to A. Root, re:                                         0.10           $32.50
                        continuation of Debtor's deposition
     01/19/2017 JES     Legal research on punitive damages; Preparation                               1.00          $325.00
                        of of third amended complaint and motion for
                        leave to amend
     01/20/2017 JES     Preparation of motion to compel Debtor's                                      0.40          $130.00
                        attendance at continuation of deposition
     01/24/2017 JES     Various emails with counsel, re: deposition                                   0.10           $32.50
                        dates; Dictate notice of continuation of Debtor's
                        deposition
     01/25/2017 JES     Telephone call from C. Acevedo, re: witnesses                                 0.10           $32.50
                        and time of trial
     02/01/2017 JES     Receipt & review Response to Motion for Leave                                 3.00          $975.00
                        to Amend; and Receipt & review of Motion to
                        Withdraw in adversary; Attend hearing on
                        Motion for Leave to Amend; Preparation of
                        proposed order granting leave to amend; E-mail
                        to C. Acevedo and A. Root, re: proposed order
     02/03/2017 JES     Receipt & review of order approving settlement                                0.10           $32.50
                        between Trustee and Camax, et. al
     02/06/2017 JES     Receipt & review of order granting leave to                                   0.10           $32.50
                        amend
     02/09/2017 IPM     Preparation of Certificate of Service re Order                                0.20           $25.00
                        Granting Motion for Leave to Seek Punitive
                        Damages
     02/15/2017 JES     Receipt & review of motion to withdraw in main                                0.10           $32.50
                        case; E-mail to C. Acevedo, re: same, request for
                        instructions on action to take in light of Debtor's
                        non-appearance at continued deposition
     02/21/2017 JES     Preparation of motion to compel attendance at                                 0.50          $162.50
                        deposition
     02/22/2017 JES     Preparation of motion for default judgment and                                0.50          $162.50
                        E-mail to C. Acevedo for review; Telephone call
                        with C. Acevedo, re: same
     02/24/2017 JES     E-mail from Debtor, re: motion for protective                                 0.10           $32.50
                        order; E-mail to C. Acevedo, re: same
     02/24/2017 JES     Receipt & review of notice of hearing on motion                               0.10           $32.50
                        to compel and motion for default judgment;
                        E-mail to C. Acevedo, re: same
     02/27/2017 JES     Various emails with C. Acevedo, re: Debtor's                                  0.10           $32.50
                        purported motion for protective orders, status of
                        Debtor's position on entry of consent judgment
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Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     03/06/2017 JES     Receipt & review of motion for protective order                              0.10           $32.50
                        and motion for extension of time to respond to
                        3d amended complaint; E-mail to C. Acevedo,
                        re: same
     03/08/2017 JES     E-mail from and reply to C. Acevedo, re:                                     0.10           $32.50
                        comments with respect to Debtor's motions for
                        protective order and to extend time
     03/14/2017 JES     Telephone call with C. Acevedo, re: his recent                               0.20           $65.00
                        discussions with Debtor, motion for protective
                        order, motion for default, and motion to compel
     03/17/2017 JES     Receipt & review filed motion for extension of                               0.10           $32.50
                        time and motion for protective order
     03/20/2017 JES     Receipt & review of notice of hearing on                                     0.10           $32.50
                        Debtor's motions for protective order and
                        extension to respond to third amended complaint
     03/22/2017 JES     Receipt & review of notice of hearing on                                     0.20           $65.00
                        Debtor's motion for protective order; E-mail to
                        C. Acevedo, re: same; Telephone call from C.
                        Acevedo, re: review of exhibits to motion,
                        upcoming hearings on all matters
     03/28/2017 JES     Review motions set for hearing on 3/29                                       0.30           $97.50

     03/29/2017 JES     Attend hearing on motions for default final                                  2.50          $812.50
                        judgment, to compel discovery, and Debtor's
                        motions for protective order and for extension of
                        time to respond to third amended complaint;
                        Telephone call with C. Acevedo, re: results of
                        same
     04/04/2017 JES     E-mail from Debtor, re: response to settlement                               0.10           $32.50
                        offer, order continuing various hearings
     04/05/2017 JES     E-mail from and reply to C. Acevedo, re: status                              0.10           $32.50
                        of communications with Debtor, settlement, etc.
     04/11/2017 IPM     Preparation of Certificate of Service re Order                               0.20           $25.00
                        Continuing Hearings
     04/24/2017 JES     Telephone call with C. Acevedo, re: status of                                0.30           $97.50
                        negotiations, Receipt & review of emails
                        between Debtor and C. Acevedo
     04/25/2017 JES     E-mail from and reply to Debtor, re: rejection of                            0.10           $32.50
                        most recent offer, purported suggestion for the
                        Court
     04/26/2017 JES     Attend hearing on motion for default final                                   3.00          $975.00
                        judgment, motion to compel discovery and
                        Debtor's motions for protective order and
                        extension of time
     04/27/2017 JES     Dictate notice of compliance re: providing copy                              0.10           $32.50
                        of third amended complaint to Debtor
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 Slatkin & Reynolds, P.A.
Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     04/28/2017 JES     E-mail from and reply to C. Acevedo, re:                                        0.10           $32.50
                        changes to order granting motion for extension
                        of time; Preparation of same and E-mail to
                        Debtor, re: all proposed orders and deadline for
                        comments
     05/02/2017 JES     Receipt & review of orders from hearings on                                     0.10           $32.50
                        4/26
     05/03/2017 JES     Revise notice of compliance of providing copy                                   0.10           $32.50
                        of 3d amended complaint to Debtor
     05/16/2017 JES     Preparation of Notice of Compliance - Written                                   0.20           $65.00
                        Questions
     05/16/2017 JES     Finalize and file notice of compliance; finalize                                0.20           $65.00
                        questions; E-mail to Debtor, re: same
     05/24/2017 JES     Preparation of motion to take judicial notice                                   1.00          $325.00

     05/30/2017 JES     Receipt & review of Debtor's answers to written                                 0.30           $97.50
                        questions; E-mail to C. Acevedo, re: same with
                        comments
     06/01/2017 JES     Telephone call with C. Acevedo, re: strategy                                    0.10           $32.50
                        with respect to written questions and motion to
                        take judicial notice
     06/06/2017 JES     Review and revise follow up written questions;                                  1.00          $325.00
                        Various emails with C. Acevedo, re: same,
                        verification of initial answers; Finalize and
                        service additional written questions
     06/08/2017 JES     E-mail to Debtor, re: request for confirmation of                               0.10           $32.50
                        receipt of additional written questions
     06/20/2017 JES     E-mail from and reply to Debtor, re: confirm                                    0.10           $32.50
                        receipt of additional written questions
     07/10/2017 JES     Receipt & review of Debtor's answers to                                         0.30           $97.50
                        additional written questions
     08/03/2017 JES     Telephone call from C. Acevedo, re: additional                                  0.70          $227.50
                        written responses received from Debtor; setting
                        matter for trial; Preparation of draft motion to set
                        status conference to set trial and e-mail to C.
                        Acevedo for review
     08/07/2017 JES     E-mail from and reply to Debtor, re: motion to                                  0.10           $32.50
                        set trial
     08/08/2017 JES     Receipt & review notice of hearing re: motion to                                0.10           $32.50
                        set status conference and trial
     08/09/2017 IPM     Preparation of Certificate of Service re Notice of                              0.20           $25.00
                        Hearing re Motion to Set Trial
     08/22/2017 JES     E-mail from and reply to Debtor, re: reference to                               0.10           $32.50
                        amended complaint, prior service of same
     08/29/2017 JES     Attend hearing motion to set status conference                                  2.50          $812.50
                        and trial; Dictate order granting motion
     08/30/2017 JES     Revise proposed order granting motion to set                                    0.10           $32.50
                        status conference; E-mail to C. Acevedo for
                        review
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 Slatkin & Reynolds, P.A.
Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     08/31/2017 JES     E-mail from and reply to C. Acevedo, re:                                      0.10           $32.50
                        changes to order; Preparation of same and
                        E-mail to Debtor for review
     09/05/2017 JES     Receipt & review of order setting 11/1/17 status                              0.10           $32.50
                        conference; E-mail to all, re: same
     09/06/2017 IPM     Preparation of Certificate of Service re Order                                0.20           $25.00
                        Granting Motion to Set Trial
     09/21/2017 JES     Receipt & review of Renotice of hearing, re:                                  0.10           $32.50
                        status conference; E-mail to Debtor, re: same
     09/21/2017 IPM     Preparation of Certificate of Service of Renotice                             0.20           $25.00
                        of Hearing
     09/25/2017 JES     E-mail from and reply to Debtor, re: questions                                0.10           $32.50
                        regarding renotice of hearing, re: status
                        conference
     10/26/2017 JES     E-mail from and reply to Debtor, re:                                          0.10           $32.50
                        interrogatories served on him to which he
                        mistakenly is asking for answers
     10/31/2017 JES     E-mail from and reply to Debtor, re: request for                              0.10           $32.50
                        production of documents
     11/01/2017 JES     Attend status conference                                                      2.50          $812.50

     11/07/2017 JES     E-mail to Debtor, re: proposed order setting trial                            0.10           $32.50

     11/07/2017 JES     Various emails from and to Debtor, re: changes                                0.20           $65.00
                        to order setting trial; Telephone call with C.
                        Acevedo, re: same; E-mail to Court, re: proposed
                        order and Debtor's comments
     11/09/2017 JES     Receipt & review of order setting trial                                       0.10           $32.50

     11/14/2017 IPM     Preparation of Certificate of Service re Order                                0.20           $25.00
                        Setting Trial
     11/27/2017 JES     Receipt & review draft response to request for                                1.20          $390.00
                        production; Telephone call with C. Acevedo, re:
                        review of same, changes to be made; Preparation
                        of redline of responses to requests for production
                        and E-mail to C. Acevedo for review
     12/12/2017 JES     Receipt & review of Trustee's report of sale;                                 0.10           $32.50
                        E-mail to C. Acevedo, re: same with comments
     12/21/2017 JES     Preparation of draft request for production of                                1.00          $325.00
                        documents; E-mail to C. Acevedo for review
     01/18/2018 JES     Telephone call with C. Acevedo, re: discuss trial                             0.20           $65.00
                        issues, logistics, default for discovery failures
     01/23/2018 JES     E-mail to Debtor, re: failure to respond to                                   0.10           $32.50
                        discovery
     01/26/2018 JES     Preparation of motion to compel production                                    0.50          $162.50

     01/29/2018 JES     Various emails with C. Acevedo and Telephone                                  0.40          $130.00
                        call with C. Acevedo, re: motion to compel and
                        motion to continue trial: Preparation of motion to
                        continue trial
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 Slatkin & Reynolds, P.A.
Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     01/31/2018 JES     Receipt & review of notices of hearing, re:                                   0.10           $32.50
                        motion to compel and motion to continue trial;
                        E-mail to C. Acevedo, re: same
     02/02/2018 IPM     Preparation of Certificate of Service re Notice of                            0.20           $25.00
                        Hearing re Motion to Continue Trial
     02/02/2018 IPM     Preparation of Certificate of Service re Notice of                            0.20           $25.00
                        Hearing re Motion to Compel Production of
                        Documents
     02/06/2018 JES     E-mail from and reply to Debtor, re: addresses                                0.10           $32.50
                        for subpoenas or agreement to accept service
     02/07/2018 JES     E-mail to Debtor, re: response to request to                                  0.10           $32.50
                        accept service or for addresses of certain
                        individual non-parties
     02/07/2018 JES     Various emails with Debtor, re: depositions of                                0.20           $65.00
                        non-party witnesses
     02/08/2018 JES     E-mail from and reply to Debtor, re: dropbox                                  0.20           $65.00
                        link for documents, initial review of same and
                        E-mail to C. Acevedo, re: dropbox link and
                        documents contained therein
     02/15/2018 JES     Attend hearing on motions to compel and                                       2.50          $812.50
                        continue trial; Receipt & review of Debtor's
                        objections and responses to request for
                        production, interrogatories; Various emails with
                        C. Acevedo, re: same
     02/15/2018 JES     Preparation of proposed orders granting motions                               0.50          $162.50
                        to compel and continue trial
     02/16/2018 JES     E-mail to Debtor, re: proposed orders                                         0.10           $32.50

     02/23/2018 JES     Receipt & review of order granting motion to                                  0.10           $32.50
                        compel discovery and order granting motion to
                        continue trial
     02/26/2018 IPM     Preparation of Certificate of Service re Order                                0.20           $25.00
                        Continuing Trial
     02/26/2018 IPM     Preparation of Certificate of Service re Order re                             0.20           $25.00
                        Motion to Compel Discovery
     03/20/2018 JES     Telephone call with Carlos Acevedo, re: lack of                               0.10           $32.50
                        amended responses received from debtor, E-mail
                        to Debtor, re: same
     03/26/2018 JES     Receipt & review of Debtor's amended responses                                0.40          $130.00
                        to request for production and link to documents;
                        Review documents and E-mail to C. Acevedo,
                        re: same
     05/01/2018 JES     E-mail to and Telephone call with C. Acevedo,                                 0.10           $32.50
                        re: upcoming status conference, potential trial
                        date in August
     05/04/2018 JES     Telephone call from C. Acevedo, re: litigation                                0.20           $65.00
                        strategy-further discovery, motion for summary
                        judgment, trial
     05/22/2018 JES     Various emails with C. Acevedo, re: JES                                       0.20       No Charge
                        unavailability to attend status conference
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 Slatkin & Reynolds, P.A.
Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     05/30/2018 RFR     Prep for and cover status conference re resetting                             0.50          $162.50
                        matter for trial
     05/30/2018 JES     Review order setting trial; Dictate changes to                                0.10           $32.50
                        same
     06/01/2018 JES     E-mail to A. Root, re: draft order setting trial                              0.10           $32.50

     06/14/2018 IPM     Preparation of Certificate of Service re Order                                0.20           $25.00
                        Setting Trial
     07/12/2018 JES     Telephone call from A. Root, re: interrogatories                              0.20           $65.00
                        served by Debtor after the discovery cutoff
                        deadline, items in storage; E-mail to Carlos, re:
                        same
     07/20/2018 JES     E-mail from and reply to C. Acevedo, re:                                      0.10           $32.50
                        Debtor's request for answers to interrogs and
                        issues regarding Debtor's retrieval of items in
                        storage
     07/27/2018 JES     E-mail from and reply to A. Root, re: follow up                               0.10           $32.50
                        on items in storage
     07/30/2018 JES     Telephone call with C. Acevedo, re: Debtor's                                  0.10           $32.50
                        recent emails re: answers to interrogatories,
                        items in storage, trial preparation
     08/03/2018 JES     Various emails with A. Root, re: objections to                                0.20           $65.00
                        Defendant's request for production and request
                        to continue trial - denied; review requests for
                        production and prior objections
     08/06/2018 JES     Conference with C. Acevedo, re: trial                                         2.20          $715.00
                        preparation, review discovery requests and
                        objections; E-mail to A. Root, re: initial
                        comments to discovery disputes and continuance
                        of trial
     08/06/2018 JES     Preparation of draft responses to A. Root's email                             0.60          $195.00
                        re: requests for production and objections;
                        E-mail to C. Acevedo for review
     08/21/2018 JES     Receipt & review of additional documents from                                 0.30           $97.50
                        clients, E-mail to A. Root, re: same
     08/23/2018 JES     E-mail to C. Acevedo, re: Exhibit binder for trial                            0.10           $32.50

     09/04/2018 JES     Telephone call with C. Acevedo, re: trial                                     0.70          $227.50
                        preparation, discuss exhibits and impeachment
                        witnesses
     09/05/2018 JES     Preparation of draft exhibit register                                         0.40          $130.00

     09/05/2018 JES     Telephone call with C.Acevedo re: additional                                  0.30           $97.50
                        trial preparation
     09/05/2018 JES     Receipt & review of motions to continue trial                                 1.40          $455.00
                        and motion to compel discovery, notice of filing
                        of answer to amended complaint; Telephone call
                        with C. Acevedo re: same; Preparation of
                        response to motion to continue trial
     09/06/2018 JES     Preparation of response to motion to compel                                   0.80          $260.00
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Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     09/06/2018 JES     Various emails with C. Acevedo, re: changes to                                 0.20           $65.00
                        responses to motions and changes to exhibit
                        register
     09/06/2018 JES     Telephone call with C. Acevedo, re: 9/11 travel                                0.60          $195.00
                        date for Clients' witnesses; E-mail to A. Root, re:
                        same; Telephone call with and E-mail to
                        Chambers, re: 9/11 hearings; Telephone call with
                        S. Gutierrez, re: renoticing hearings scheduled
                        for 9/11; E-mail to C. Acevedo, re: same; E-mail
                        from and reply to A. Root, re: extension to
                        deliver exhibit register; Receipt & review of
                        renotice of hearings for 9/7
     09/06/2018 JES     Preparation of draft pretrial order Dictate hearing                            1.20          $390.00
                        binder for 9/7 renoticed hearings
     09/07/2018 JES     Finalize pretrial order; Attend hearings on                                    2.50          $812.50
                        motion to continue and motion to compel;
                        Preparation of proposed orders and E-mail to A.
                        Root for review
     09/08/2018 JES     Legal research on case law on Section 523(a)(4)                                1.00          $325.00
                        claims, hearsay issues, Telephone call with
                        Acevedo,re: further trial preparation
     09/10/2018 JES     Conference with C. Acevedo, re: additional                                     3.00          $975.00
                        preparation for trial, Receipt & review of
                        Debtor's exhibit register
     09/11/2018 JES     Conference with C. Acevedo and Clients, re:                                    2.50          $812.50
                        review pretrial order with A. Root, Preparation
                        of further revisions to same and E-mail to C.
                        Acevedo and A. Root for review
     09/12/2018 IPM     Preparation of Objection to Trial Exhibits                                     0.30           $37.50

     09/12/2018 JES     Receipt & review of revised pretrial order,                                    0.30           $97.50
                        Telephone call with C. Acevedo, re: same;
                        E-mail to A. Root, re: objection to use of
                        deposition transcript by Debtor; E-mail from A.
                        Root, re: same
     09/12/2018 JES     Conference with C. Acevedo and Clients, re:                                    3.00          $975.00
                        trial preparation
     09/13/2018 JES     Attend trial                                                                   8.50        $2,762.50

     09/14/2018 IPM     Preparation of Certificate of Service re Order                                 0.20           $25.00
                        Denying Motion to Compel
     09/14/2018 IPM     Preparation of Certificate of Service re Order                                 0.20           $25.00
                        Denying Motion to Continue Trial
     09/17/2018 JES     Begin preparation of proposed findings and                                     2.00          $650.00
                        conclusions
     09/17/2018 JES     Continue preparation of proposed findings and                                  2.00          $650.00
                        conclusions
     09/18/2018 JES     Receipt & review of order granting defendant's                                 0.10           $32.50
                        ore tenus motion for extension of time to provide
                        exhibit register
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Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     09/20/2018 JES     Complete draft of proposed findings and                                            1.30          $422.50
                        conclusions and E-mail to C. Acevedo for
                        review
     09/21/2018 JES     Telephone call with C. Acevedo, re: changes to                                     0.10           $32.50
                        draft findings and conclusions
     09/26/2018 JES     Receipt & review from C. Acevedo, re: revised                                      0.60          $195.00
                        draft findings and conclusions; preparation of
                        further revised version
     09/26/2018 JES     Review trial order entered by court; E-mail to C.                                  0.30           $97.50
                        Acevedo, re: need for amendments to same;
                        Various emails with C. Acevedo, re: rectifying
                        error in order by way of exhibit references in
                        proposed findings
     09/26/2018 JES     Final review of proposed findings and                                              0.20           $65.00
                        conclusions
     09/27/2018 JES     E-mail to Chambers, re: proposed findings and                                      0.10           $32.50
                        conclusions and final judgment
     09/27/2018 JES     Receipt & review of various emails from A.                                         0.10           $32.50
                        Root and C. Acevedo, re: extension of time for
                        defendant to submit proposed findings and
                        conclusions and issue regarding items in storage
     09/27/2018 JES     Receipt & review of motion of extension of time                                    0.10           $32.50
                        for Debtor to submit proposed findings and
                        conclusions
     09/29/2018 JES     Receipt & review of Defendant's proposed                                           0.10           $32.50
                        submissions; E-mail to A. Root, re: Plaintiffs'
                        submissions
     10/01/2018 JES     Receipt & review order granting motion to                                          0.10           $32.50
                        extend time for Defendant to provide proposed
                        findings and conclusions
     10/17/2018 JES     Receipt & review of Trustee's final report,                                        0.20           $65.00
                        E-mail to C. Acevdedo, re: same with comments
                        and analysis


                        SUMMARY - By Time Ticket Type



                                                                                   Billable:            140.70        $44,487.50

                                                                                      Trial:               0.00            $0.00

                                                                                Flat Charge:               0.00            $0.00

                                                                               Non-Billable:               0.00            $0.00

                                                                                 No Charge:                0.20            $0.00

                                                                            Misc No Charge:                0.00            $0.00
                        Case 16-01106-AJC                     Doc 171-2   Filed 12/27/18     Page 18 of 20
                                                                                              Report Date:       12/20/2018
 Matter History Report                                                                        Report Time:        11:51AM
                                                                                              Page:                  17 of 19
                                                                                             Requested By: System Administrator
 Slatkin & Reynolds, P.A.
Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
                                                                                                       _____      ____________

                                                                                    Total:            140.90         $44,487.50



                        SUMMARY - By Timekeeper



                  JES   Billable Timekeeper Hours & Fees. .                                           134.00         $43,550.00

                  IPM   Billable Timekeeper Hours & Fees. .                                              6.20           $775.00

                  RFR   Billable Timekeeper Hours & Fees. .                                              0.50           $162.50

                  JES   No Charge Hours . . . . . . . . . .                                              0.20             $0.00

                        Misc. Fee Debits & Credits. . . . .                                                  -            $0.00

                                                                                                       _____      ____________

                                                                                    Total:            140.90         $44,487.50



     _________ ______ _______________________________________ ______________ ______________ ______________



                        HARD COSTS



     02/25/2016         Adversary filing fee                                       $350.00

     03/08/2016         Parking and tolls                                            $7.50

     09/09/2016         Service on Weiss Law Group                                  $45.00

     09/09/2016         Service on R. Del Medico                                    $45.00

     09/26/2016         Pro hac vice fee                                            $75.00

     02/10/2017         Attendance fee 2/10/17                                      $95.00

     02/13/2017         Attendance at deposition - CNA                              $95.00

     02/13/2017         Attendance at exam - CNA                                    $95.00

     03/03/2017         Adjustment for Voided Check #: 1854                       ($95.00)

     03/03/2017         Adjustment for Voided Check #: 1854                       ($95.00)

     03/29/2017         Parking and tolls                                           $15.00
                        Case 16-01106-AJC            Doc 171-2     Filed 12/27/18          Page 19 of 20
                                                                                            Report Date:    12/20/2018
 Matter History Report                                                                      Report Time:     11:51AM
                                                                                            Page:                18 of 19
                                                                                           Requested By: System Administrator
 Slatkin & Reynolds, P.A.
Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     04/26/2017         Parking and tolls                                         $11.25

     09/12/2018         Parking and tolls                                         $26.00

     09/13/2018         Parking and tolls                                         $28.00

                                                                        ____________

                                                 Hard Costs SubTotal:            $697.75



                        SOFT COSTS



     02/18/2016         Postage                                                   $15.40

     02/18/2016         Photocopies                                                $7.95

     02/29/2016         Photocopies                                                $0.30

     02/29/2016         Postage                                                    $0.98

     05/03/2016         PACER Charges                                              $9.80

     05/24/2016         Photocopies                                                $5.55

     07/22/2016         PACER Charges                                              $3.50

     08/18/2016         Photocopies                                                $2.25

     08/29/2016         Photocopies                                                $4.80

     11/03/2016         PACER Charges                                              $3.40

     01/30/2017         PACER Charges                                              $1.30

     02/21/2017         Postage                                                    $0.65

     02/21/2017         Photocopies                                                $0.75

     03/28/2017         Photocopies                                               $12.90

     04/25/2017         PACER Charges                                              $0.90

     08/09/2017         Postage                                                    $0.46

     08/09/2017         Photocopies                                                $0.15

     08/29/2017         Photocopies                                                $2.25

     02/14/2018         Photocopies                                               $10.35

     05/30/2018         Long Distance Telephone - Court Call                      $35.00
                        Case 16-01106-AJC           Doc 171-2        Filed 12/27/18         Page 20 of 20
                                                                                             Report Date:      12/20/2018
 Matter History Report                                                                       Report Time:       11:51AM
                                                                                             Page:                 19 of 19
                                                                                            Requested By: System Administrator
 Slatkin & Reynolds, P.A.
Client Number: 692.000                       Kaika SAS and K&K
Matter Number: 692.001                       Kaika SAS & K&K v. Pereira
Matter Type:      Bankruptcy Adversary                    Billing Mode: Hourly
Dates Included on Report:  01-01-1900 Thru 12-20-2018
     06/04/2018         PACER Charges                                               $1.20

     09/07/2018         Photocopies                                                 $7.80

     10/19/2018         PACER Charges                                               $0.90

                                                                            ____________

                                                  Soft Costs SubTotal:           $128.54

                                                                          ______________

                        Total Costs:                                             $826.29



     _________ ______ _______________________________________ ______________ ______________ ______________



                                                                            Billed Amount Payment Amount         Amount Due



                                                                FEES:          $44,487.50      ($44,487.50)             $0.00

                                                      HARD COSTS:                $697.75          ($697.75)             $0.00

                                                       SOFT COSTS:               $128.54          ($128.54)             $0.00

                                                             TAXES:                 $0.00              $0.00            $0.00

                                                   LATE CHARGES:                    $0.00              $0.00            $0.00

                                                                           _____________ ______________           __________

                                                            TOTALS:            $45,313.79      ($45,313.79)             $0.00




                                                Date of Last Payment:          12/18/2018



                                                     Date of Last Bill:        12/06/2018
